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~AO 247 02/08) Orde' Regarding Motion for Sentence Reduction


                                         UNITED STATES DISTRICT COURT
                                                                   for the
                                                           Middle District of Florida
              UNITED STATES OF AMERICA

                                                                        Case No:           8:03-cr-393-T-23TBM
                               v.
                                                                        USM No:            41557-018
                  KAREEM DESSEAU

Date Previous Judgment Signed: October 25, 2004                         Defendant's Attorney: Deana K. Marshall, ret.



             Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582{c)(2)

The defendant moves (Doc. 201) under 18 U.S.C. § 3582(c)(2) for a reduction of the term of in:prisonment i~posed
based on a guideline sentencing range that has subsequently been I~wered a.nd made retro~ctlve by the Untted
States Sentencing Commission pursuant to 28 U.S.C. § 994(u). Having considered the motion,

IT IS ORDERED that the motion is:
00        DENIED.
D         GRANTED and the defendant's previously imposed term of imprisonment IS REDUCED TO

I.   COURT DETERMINATION OF GUIDELINE RANGE (prior to any departures)
Previous Offense Level:                  ~                              Amended Offense Level:                     29
Criminal History Category:               1-                             Criminal History Category:                  I
Previous Guideline Range:                120 to 135 months              Amended Guideline Range:                   120 months
                                          plus 84 months consecutive                                               plus 84 months consecutive


II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
D     The reduced sentence is within the amended guideline range.
D     The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at
      the time of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is
      comparably less than the amended guideline range.
D     Other (explain):

III. ADDITIONAL COMMENTS
     Although at his October 22,2004, sentencing his calculated offense level was 31 based on 216.6 grams of
     crack cocaine (after a three-level decrease for acceptance of responsibility and assisting authorities in the
     investigation of the offense) and his criminal history category was I, which yields a guidelines sentencing
     range of 108-135 months, a 1O-year statutory minimum mandatory applied to count one and a mandatory
     consecutive 7-year term applied to count two. The court granted the United States' substantial
     assistance(5K1.1) motion for reduction and reduced the sentence for count one by two levels--to offense level
     29, criminal history category I, range 87-108 months. The court imposed an 87-month term as to count one
     and the mandatory consecutive 84-month term as to count two.

     Although the recent revision to the Drug Quantity Table reduces to level 29 (after a three-level decrease for
     acceptance of responsibility and assisting authorities in the investigation of the offense) the offense level for 216.6
     grams of cocaine base, the 1O-year statutory minimum mandatory remains the starting point for calculating the
     defendant's sentence, effectively negating the two-level decrease in offense level and corresponding reduction in
     sentence the defendant seeks.

     Section 181.10(a)(2)(8) provides that a reduction in sentence is "not consistent with this policy statement and
     therefore is not authorized ... under 18 U.S.C. § 3582(c)(2) if ... an amendment listed in subsection (c) does not
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   have the effect of lowering the defendant's applicable guideline range." The pertinent "Application Note" in the
   "Commentary" accompanying Section1 81.1 O(a)(2)(8) confirms that Amendment 706 will not lower the defendant's
   applicable guideline range if the operation of Amendment 706 is superseded by the operation of a statutory
   minimum mandatory term of imprisonment, which occurs in Desseau's circumstance.

All provisions of the judgment signed Octom5, 2004, remain in effect.

ORDERED in Tampa, Florida, on                LY cA..J'r..uA '2~ ~2008'
                                                                           - v'Y1'lA
Effective Date: - - - - -
            (if different from order date)
                                                                    STEVEN D.    MERRY~
                                                               UNITED STATES DISTRICT JUDGE
